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                Letitia C. Scott - 10-287
                Louise Rambo       to: Nancy Lundy                                       01/07/2013 11:34 AM

  From:         Louise Rambo/LAWF/05/FDO@FDO
  To:           Nancy Lundy/LAWD/05/USCOURTS@USCOURTS

 Please be advised by this writing, Christopher Aberle is appointed through this office for purpose of
 appeal.

 Please make this email a part of the record. Thanks.

 Louise Rambo
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